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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )                4:08CR3173
                                     )
            v.                       )
                                     )
JOHN S. CISNEROS,                    )                   ORDER
                                     )
                 Defendant.          )
                                     )



     Upon consideration of the defendant’s motion to amend
conditions of release, filing no. 27,

     IT IS ORDERED:

     The motion for modification of conditions of release is
denied subject to the following.

     The motion may be renewed at such as Priscilla Huff:

     1. (a) has been admitted to participate in drug court or

          (b) has begun an intensive treatment program, and

     2.   can document that she has tested clear of drugs for
          three consecutive weeks.

     DATED this 16th day of January, 2009.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
